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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

  M.D. FARUKUZZAMAN, and
  TASNIM CHOWDURY EATI

                Plaintiff,

   v.                                         CASE NO.: 2:15-cv-00424-UA-MRM

  FORTUNE STEP, LLC,
  A Florida Limited Liability Company,
  d/b/a Quick & Friendly, and
  HABIBUR RAHMAN, Individually

                Defendant.
                                              /

                             JOINT MOTION TO DISMISS

         Plaintiffs, M.D. FARUKUZZAMAN, and TASNIM CHOWDURY EATI, and

  Defendants FORTUNE STEP, LLC d/b/a QUICK & FRIENDLY and HABIBUR

  RAHMAN jointly move the Court for an order dismissing the Complaint with prejudice

  pursuant to Fed. R. Civ. P. 41(a)(1)(ii). As grounds for the Motion, the parties state as

  follows:

         The Complaint in this case contains four counts, two of which are for alleged

  violations of the Fair Labor Standards Act of 1938, 29 U.S.C. §§201 – 219 (“FLSA”).

  (Doc. #1).   Plaintiffs alleged that they were entitled to minimum wages and overtime

  compensation for all hours working for Defendants. Defendants filed their Answer and

  Affirmative Defenses on July 30, 2015 (Doc. #6), and in part stated that Plaintiffs were

  never employed by Defendants, but rather were partners of Defendant Rahman.

  Additionally, Defendants stated that Plaintiffs misappropriated funds from the business,

  and pursued a separate cause of action in the Circuit Court for the Twentieth Judicial
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  Circuit in Lee County to reclaim the misappropriated funds.

          The parties engaged in mediation on May 31, 2016. The Plaintiffs learned that

  Defendant Rahman moved out of state, and Defendant Fortune Step was no longer in

  business due to the inability to pay its bills.

          Due to the pending claims both parties maintained, and the inability of the parties

  to pay any monetary damages, the parties reached an amicable resolution to dismiss all

  claims and accept mutual general releases with the Defendants covering the cost of the

  mediation. Notwithstanding the factual and legal arguments that the parties believe are

  applicable in this matter, the parties determined that they preferred to amicably conclude

  the instant litigation, taking into account the cost, time, and uncertainty associated with

  the ongoing case.

          The parties jointly submit to the Court that there has been sufficient investigation

  and exchange of information to allow counsel for both parties to evaluate the parties’

  claims and defenses and make recommendations regarding the resolution of this matter.

          No settlement funds are being paid by either party. The parties have agreed to pay

  their own attorneys’ fees and costs separately. Both parties were represented by counsel

  and fairly negotiated the terms of the settlement.

          Given the nature of this resolution, the parties are not asking the Court to review

  and approve the settlement. However, if review of the settlement by the Court is required,

  the parties also respectfully submit that the settlement reached among the parties should

  be approved by this Court as fair and reasonable. See 29 U.S.C. §216(c); Lynn’s Food

  Stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir. 1982). Pursuant to Lynn’s

  Food, the Court reviews the parties’ agreements to determine if they are “a fair and




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  reasonable resolution of a bona fide dispute.” Id. at 1354-55. If the settlement reflects a

  reasonable compromise over issues that are actually in dispute, the Court may approve

  the settlement “in order to promote the policy of encouraging settlement of litigation.” Id.

  at 1354. The Court should be mindful of the strong presumption in favor of finding a

  settlement fair. Hamilton v. Frito-Lay, Inc., 2007 WL 328792 at *2, (M.D. Fla. 2007).

         The parties, therefore, respectfully submit that the settlement that they have

  entered in to represents a reasonable compromise of both parties’ claims consistent with

  the requirements of Lynn’s Food. A copy of the settlement agreement is attached hereto

  for the Court.

  Dated this: 9th   day of June, 2016.

  Respectfully submitted,                          Respectfully submitted,

      By: /s/ Jason L. Gunter                          By: /s/ Matthew Toll
        Jason Gunter, Esq.                                Matthew Toll, Esq
        Fla. Bar No.: 0134694                             Fla. Bar Number: 0785741
        JASON L. GUNTER, P.A.                             TOLL LAW
        Attorney for Plaintiff                            Attorney for Defendants
        1625 Hendry St., Suite 103                        1217 Cape Coral Pkwy E, #121
        Fort Myers, FL 33901                              Cape Coral, FL 33904-9604
        Tel: (239) 334-7017                               Tel: (239) 257-1743
        Fax: (239) 244-9942                               Fax: (239) 257-1794
        E-mail: jason@gunterfirm.com                      Email: matt@matthewtoll.com




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